Case 23-30672-5-wak            Doc 54      Filed 03/10/25 Entered 03/10/25 18:10:51              Desc Main
                                          Document     Page 1 of 3




 UNITED STATES BANKRUPTCY COURT
 NORTHERN DISTRICT OF NEW YORK
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 In re:                                                                NOTICE OF MOTION


 Joseph A. DiMino, Jr,                                                 Case No. 23-30672-5-wak

                                                                       Chapter 13

                                                                       HON. WENDY A. KINSELLA
                   Debtor.
 ------------------------------------------------------------------x

          PLEASE TAKE NOTICE, that upon the annexed application of attorneys for

 MOVEMENT MORTGAGE, LLC, BY SERVICE MAC, LLC, ITS APPOINTED ATTORNEY

 IN FACT (hereinafter “Movant”), the undersigned respectfully moves this Court for an order,

 pursuant to 11 U.S.C. § 362(d)(1) terminating the automatic stay herein as to the lien interest of

 Movant in real property of the debtor commonly known as 4815 Lepinske Farm Place, Clay, NY

 13041, waiver of the 14 day stay contained in Rule 4001, together with Movant attorney’s fees of

 $450.00, if granted on default, or $550.00, if resolved by conditional order and costs of $199.00,

 and such other and further relief as to the Court may seem just and proper.

          PLEASE TAKE FURTHER NOTICE that this motion shall be returnable on the 3rd

 day of April, 2025 at 10:00 a.m. of that day, or as soon thereafter as counsel can be heard, before

 the Hon. Wendy A. Kinsella in person at the James M. Hanley U.S. Courthouse and Federal

 Building, 100 South Clinton Street, Syracuse, New York OR by telephone via call-in number:

 315-691-0477; and Conference ID: 932081324#

          PURSUANT TO BANKRUPTCY RULE 9014 AND LOCAL BANKRUPTCY
Case 23-30672-5-wak      Doc 54    Filed 03/10/25 Entered 03/10/25 18:10:51   Desc Main
                                  Document     Page 2 of 3



 RULE 9013-1, IF YOU INTEND TO OPPOSE THIS MOTION, WRITTEN OPPOSITION

 MUST BE FILED WITH THE CLERK OF THE COURT AND SERVED ON

 MOVANT’S COUNSEL AT LEAST SEVEN (7) DAYS PRIOR TO THE RETURN DATE.

 IF YOU DO NOT FILE AND SERVE WRITTEN OPPOSITION, NO HEARING WILL

 BE HELD ON THE RETURN DATE AND THE COURT MAY GRANT THE MOTION

 AS UNOPPOSED.


 Dated: March 10, 2025
        Westbury, NY
                                          ROBERTSON, ANSCHUTZ, SCHNEID, CRANE
                                          AND PARTNERS, PLLC
                                          Attorney for Secured Creditor
                                          900 Merchants Concourse, Suite 310
                                          Westbury, NY 11590
                                          Phone: (516) 280-7675
                                          Fax: (516) 280-7674


                                          By: /s/ _Suzanne Youssef__________________
                                          Suzanne Youssef, Esq.
                                          Email: syoussef@raslg.com



 TO:

 Joseph A. DiMino, Jr
 99 E. Oneida St.
 Oswego, NY 13126

 Neil Tarak Bhatt
 Bhatt Law Firm
 536 State Street
 Ogdensburg, NY 13669

 Mark W. Swimelar-Trustee
 250 South Clinton Street
 Suite 203
 Syracuse, NY 13202
Case 23-30672-5-wak     Doc 54    Filed 03/10/25 Entered 03/10/25 18:10:51   Desc Main
                                 Document     Page 3 of 3




 U.S. Trustee
 U.S. Trustee Office
 10 Broad Street,
 Room 105
 Utica, NY 13501

 Hon. Wendy A. Kinsella
 U.S. Bankruptcy Court
 James M. Hanley U.S. Courthouse and Federal Building
 100 South Clinton Street
 Syracuse, NY 13261
 Chamber’s Copy
